






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-02-00274-CV







Billy Bob Aldridge and Allegheny Mutual Casualty Co. 

dba Alamo Bail Bonds, Surety, Appellants


v.


State of Texas, Appellee







FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT

NO. 01-091-C277, HONORABLE MICHAEL JERGINS, JUDGE PRESIDING





	The trial court signed a final judgment on January 3, 2002.  On February 1,  appellants
Billy Bob Aldridge and Allegheny Mutual Casualty Co. dba Alamo Bail Bonds, Surety, filed a
motion for new trial.  On April 18, they filed their notice of appeal.  On May 15, this Court sent
appellants a letter informing them that the notice of appeal appeared to be untimely, requesting a
response by May 28, and notifying them that a failure to respond timely would result in the appeal's
dismissal.  On July 3, appellee the State of Texas filed a motion to dismiss the appeal.  To date,
appellants have not responded to the Court's letter.




	We therefore dismiss the appeal for want of jurisdiction.  Tex. R. App. P. 42.3(a). 
We dismiss appellee's motion to dismiss.



					                                                                                   

					Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Dismissed for Want of Jurisdiction

Filed:   July 26, 2002

Do Not Publish


